
996 So.2d 1098 (2008)
STATE ex rel. Kenneth DUROSSEAU
v.
STATE of Louisiana.
No. 2008-KH-1611.
Supreme Court of Louisiana.
November 21, 2008.
Relator represents that the district court has failed to act timely on a motion for production of documents filed on or about March 13, 2008 and a writ of mandamus filed on or about May 14, 2008. If relator's representation is correct, the district court is ordered to consider and act on the motion for production of documents. If relator's representation is incorrect, the district court is ordered to accept, file and act upon the pleading which is herewith transferred to the district court. The district court is ordered to provide this Court with a copy of its judgment.
